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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF NEW MEXICO

UNITED STATES OF AMERICA,

Plaintiff,
VS. CR. NO. 14-3609 JB
BENTLEY STREETT,

Defendant.

UNOPPOSED MOTION TO CONTINUE SENTENCING AND EXTEND DEADLINE
FOR FILING OBJECTIONS TO PRESENTENCE REPORT
AND SENTENCING PLEADINGS

COMES NOW Defendant Bentley Streett, by and through his counsel of record, Martin
Lopez III, P.C. (Martin Lopez III) and moves this Court for an Order to Continue Defendant’s
Sentencing Hearig of May 30, 2019 and Extending Deadlines for Defendant’s Filing of Objections
to the Presentence Report and Sentencing Pleadings until this Court files its Memorandum Opinion
on Defendant’s Motion to Dismiss or by subsequent order.

AS GROUNDS, Defendant would state as follows:

1. On December 7, 2018 Defendant Streett entered a guilty plea to Counts 2, 3, 4, 5, 6, 7, 8
and 11 ofthe Second Superseding Indictment charging him with Count 2: Travel to Engage in Illicit
Sexual Conduct in violation of 18 U.S.C. § 2423(b); Counts 3 and 4: Production of a Visual
Depiction ofa Minor Engaging in Sexually Explicit Conduct in violation of 18 U.S.C. §§ 2251 (a),
(e), and 2256; Counts 5, 6 and 7: Production of a Visual Depiction of a Minor Engaging in Sexually
Explicit Conduct in violation of 18 U.S.C. §§ 2251(a), (e), and 2256; Count 8: Distribution of Visual
Depictions of Minors Engaged in Sexually Explicit Conduct in violation of 18 U.S.C. §§ 2252(a)(2),
2252(b)(1), and 2256; and Count 11: Possession of Child Pornography in violation of 18 U.S.C. §§
2252A(a)(5)(B), (b)(2), and 2256. (Doc. 185).

2. On February 14, 2019 the U.S. Probation Office disclosed Mr. Streetts’ presentence

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investigation report (“PSR”), making all objections to the PSR and sentencing-related filings in this
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case due on February 28, 2019. (Doc. 188).

3. FRCP 32 (f)(1) sets the time to object to the report as: “Within 14 days after receiving the
presentence repost , the parties must state in writing any objections, including objections to material
information , sentencing guideline ranges, and policy statements contained in or omitted from the
report.”

4. Defendant Streett is housed in the Santa Fe County Detention Center, making it difficult
for counsel to meet with Mr. Streett to discuss the presentence report, his objections to the PSR, if
any, and sentencing pleadings adequately. The schedule of undersigned counsel has been such that
he needs additional time to file objections, if any. Given undersigned counsel’s current schedule,
he did not have ddequate time to review the presentence report with Mr. Streett, prepare and file
objections, if any, and submit the requested sentencing pleadings for the Court’s consideration.

5, On March 6, 2019 the Court entered its order continuing the sentencing to May 30, 2019.
(Doc. 192).

6. On April 4, 2019 Counsel for Defendant filed a notice of non-availability due to medical
issues from April 3, 2019 to April 22, 2019. (Doc. 193). Counsel has recently returned to work
and previously, has not had sufficient time to review the Pre-Sentence Report with Defendant Streett.

7. Based“on the aforementioned facts and circumstances, counsel for Defendant Streett
hereby respectfully requests the Court extend the deadline for filing of objections to the presentence
report and sentencing-related pleadings until after the Court enters its Memorandum Opinion to
Defendant’s Motion to Dismiss or by subsequent order, and continue sentencing for a period of two
weeks from the current May 30, 2019 sentencing date. No prejudice will result by granting the
requested extensions.

8. A failute to continue the sentencing hearing and deadlines will prevent Defendant and the
Government from preparing this matter fully and adequately. This would result ina miscarriage of
justice as described in 18 U.S.C. §3 161(h)(7)(B)(iv). See USA v. Toombs, 574 F.3d 1262 (10" Cir.

2009). For the same reasons, the ends of justice and the best interests of the public will be furthered
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by the relief requested herein.

9. Undersigned Counsel for Defendant Streett contacted Assistant U.S. Attorney Sarah Jane
Mease seeking her concurrence and she does not oppose this motion or the time limits requested.

WHEREFORE, based upon the information and reasons described above, Defendant
Bentley Streett respectfully requests this Court to Order that the May 30, 2019 sentencing hearing
be vacated and continued, the deadline for filing objections to the presentence report be vacated and
continued, and sentencing pleadings in this matter be continued until after this Court has entered its
Memorandum Opinion on Defendant’s Motion to Dismiss or by subsequent order of the Court.

Respectfully submitted,

MARTIN LOPEZ, Ill
A Professional Corporation

Electronically filed May 7, 2019
Martin Lopez, III

Attorney for Defendant Streett
1500 Mountain Rd. N. W.
Albuquerque, New Mexico 87104
Tele: (505) 243-2900

CERTIFICATE OF SERVICE

 

I HEREBY CERTIFY that on the_7th_ of May, 2019, I filed the foregoing pleading
electronically through the CM/ECF system, which caused the following counsel to be served by
electronic means, as more fully reflected on the Notice of Electronic Filing to the following:

Sarah Jane Mease
Assistant U. 8. Attorney

E-Mail: sarah.mease@usdoj.gov

Electronically filed May 7, 2019
Martin Lopez, III
